                                                                                     Filed: 4/1/2015 8:07:40 PM
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                                                                                  7 PageID   41
                                                                                    District Clerk
                                                                                    Kaufman County, Texas
                                                                                    Susan Cook Mendoza

                                     CAUSE NO. 92658-CC

ANGELA GLIDEWELL,                                      §             IN THE DISTRICT COURT
                                                       §
        Plaintiff,                                     §
                                                       §
vs.                                                    §          KAUFMAN COUNTY, TEXAS
                                                       §
SAFECO INSURANCE COMPANY OF                            §
INDIANA and CHAD DAVIS,                                §
                                                       §
        Defendants.                                    §            191ST JUDICIAL DISTRICT

          DEFENDANTS SAFECO INSURANCE COMPANY OF INDIANA’S
        AND CHAD DAVIS’S ANSWER TO PLAINTIFF’S ORIGINAL PETITION

        Defendants Safeco Insurance Company of Indiana (“Safeco”) and Chad Davis

(collectively, the “Defendants”) file this Answer to Plaintiff’s Original Petition as follows:

                                                  I.

                                     PLEA IN ABATEMENT

        In the Original Petition, Plaintiff seeks damages from Defendants pursuant to Chapter

541 of the TEXAS INSURANCE CODE and Chapter 17 of the TEXAS BUSINESS AND COMMERCE

CODE. However, Plaintiff failed to comply with the requirements of § 17.505(a) of the TEXAS

BUSINESS AND COMMERCE CODE and § 541.154 of the TEXAS INSURANCE CODE, in that she did

not given written notice to Defendants at least sixty (60) days before the filing of her suit,

advising Defendants in reasonable detail of Plaintiff’s specific complaint and the amount of her

economic damages and expenses, including attorneys’ fees, if any. Rather, Plaintiff served such

notice on March 9, 2015.

        Accordingly, and pursuant to § 17.505(c) of the TEXAS BUSINESS AND COMMERCE CODE

and § 541.155 of the TEXAS INSURANCE CODE, Defendants hereby file this Plea in Abatement,

and request that this suit be abated until the sixtieth day after the date Plaintiff served written

notice on Defendants in compliance with § 17.505(a) of the TEXAS BUSINESS AND COMMERCE

CODE and § 541.154 of the TEXAS INSURANCE CODE, or until May 8, 2015.

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         Because this Plea in Abatement is verified and alleges that Defendants did not receive the

written notice as required by § 17.505(a) of the TEXAS BUSINESS AND COMMERCE CODE and §

541.154 of the TEXAS INSURANCE CODE, this suit will be automatically abated without the order

of the Court beginning on the 11th day after the date this Plea in Abatement is filed unless the

same is controverted by an affidavit filed before such 11th day. TEX. BUS. & COMM. CODE §

17.505(a); TEX. INS. CODE § 541.155.

                                                 II.

                                       GENERAL DENIAL

         Subject to such stipulations and admissions as may be made hereafter, Defendants hereby

enter this general denial pursuant to Rule 92 of the TEXAS RULES OF CIVIL PROCEDURE.

Defendants deny all and singular, each and every allegation contained in Plaintiff’s Original

Petition and request that Plaintiff be required to prove all charges and allegations against

Defendants by a preponderance of the evidence as required by Texas law.

                                                 III.

                                       SPECIFIC DENIAL

         Defendants specifically deny that “[a]ll conditions precedent to Plaintiff’s right to recover

have been fully performed or have been waived by Defendant.” Plaintiff’s Original Petition, ¶

28. Rather, Plaintiff has failed to establish a covered loss in excess of the Policy’s deductible.

Further, and as set forth above, Plaintiff failed to comply with the requirements of section

541.154 of the TEXAS INSURANCE CODE and section 17.505(a) of the TEXAS BUSINESS AND

COMMERCE CODE in that she did not provide written notice to Defendants at least sixty (60) days

before the filing of her suit advising Defendants in reasonable detail of Plaintiff’s specific

complaint and the amount of her alleged economic damages and expenses, including attorneys’

fees, if any.




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                                                  IV.

                                     SPECIAL EXCEPTIONS

        Defendants specially except to Plaintiff’s Original Petition because it contains vague and

conclusory statements and fails to provide Defendants with adequate notice of the specific factual

allegations against it in the case, preventing Defendants from properly preparing their defenses.

More specifically, Plaintiff’s Original Petition fails to describe in any detail the factual basis for

the purported claims for breach of contract, violations of the Texas Insurance Code and Texas

Deceptive Trade Practices Act, and breach of the common law duty of good faith and fair dealing.

Defendants respectfully request that Plaintiff be required to replead, stating with specificity the

precise factual allegations upon which Plaintiff bases his claims against Defendants. Should

Plaintiff fail to so replead, Defendants request that Plaintiff’s claims be stricken.

                                                V.
                                             DEFENSES

        Pleading further in the alternative, if necessary, Defendants would further show the

following:

        1.       Plaintiff’s claims are barred, in whole or in part, by the terms and conditions set

forth in Plaintiff’s insurance policy with Safeco (the “Policy”), along with endorsements thereto,

all of which are expressly incorporated by reference as if set forth fully herein.

        2.       Without limiting the foregoing, Plaintiff’s claims are barred, in whole or in part,

by the following terms and conditions in the Policy:

        PROPERTY LOSSES WE DO NOT COVER

        We do not cover loss caused directly or indirectly by any of the following
        excluded perils. Such loss is excluded regardless of the cause of loss or any other
        cause or event contributing concurrently or in any sequence to the loss. These
        exclusions apply whether or not the loss event results in widespread damage or
        affects a substantial area.

        ...




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        15.      Weather that contributes in any way with a cause or event excluded in
                 this section to produce a loss. However, any ensuing loss not excluded is
                 covered.

        16.      Planning, Construction or Maintenance, meaning faulty, inadequate or
                 defective:

                 a.       planning, zoning, development, surveying, siting;

                 b.      design, specifications, workmanship, repair,            construction,
                         renovation, remodeling, grading, compaction;

                 c.      materials used       in   repair,   construction,    renovation    or
                         remodeling; or

                 d.      maintenance;

        of property whether on or off the insured location by any person or organization.
        However, any ensuing loss not excluded is covered.

        3.    Plaintiff’s extra-contractual claims are barred, in whole or in part, because there

exists a bona fide dispute regarding coverage under the Policy.

        4.    Plaintiff’s claims are barred, in whole or in part, by Plaintiff’s failure to mitigate his

damages, if any.

        5.    Plaintiff’s claims are barred because any damages, injuries, or losses were caused by

persons or parties for whom Defendants are not responsible.

        6.    Section 41.008 of the TEXAS CIVIL PRACTICE AND REMEDIES CODE applies to

restrict and limit Plaintiff’s claims for exemplary damages and Defendants intend to invoke the

damage cap if exemplary damages are awarded.

        7.    Section 41.007 of the TEXAS CIVIL PRACTICE AND REMEDIES CODE bars Plaintiff

from recovering pre-judgment interest on any award of exemplary damages.

        8.    In the event of recovery of damages from Defendants, any award of pre- and/or

post-judgment interest is limited by the applicable provisions of the TEXAS FINANCE CODE.

        9.    Defendants hereby reserve the right to add additional defenses as may become

known to them during the course of discovery.



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                                     VI.
                  RESERVATION OF RIGHT TO DEMAND APPRAISAL

         Defendant Safeco reserves its right to demand appraisal pursuant to the terms and

conditions of the Policy, and the filing of this Answer, or any other act performed by Defendants

in the defense of this lawsuit, should not be deemed as a waiver of such right.

                                          VII.
                                REQUEST FOR DISCLOSURE

         Pursuant to Rule 194 of the TEXAS RULES OF CIVIL PROCEDURE, you are requested to

disclose, within 30 days of service of this request, the information or material described in Rule

194.2.

         WHEREFORE, PREMISES CONSIDERED, Defendants Safeco Insurance Company of

Indiana and Chad Davis request that Plaintiff take nothing by this suit; that Defendants recover all

costs; and for such other and further relief to which Defendants may be justly entitled.

                                                  Respectfully submitted,


                                                  /s/ Mark D. Tillman
                                                  MARK D. TILLMAN
                                                  State Bar No. 00794742
                                                  COLIN BATCHELOR
                                                  State Bar No. 24043545
                                                  DANIEL C. SCOTT
                                                  State Bar No. 24051316

                                                  TILLMAN BATCHELOR LLP
                                                  1320 Greenway Drive, Suite 830
                                                  Irving, Texas 75038
                                                  Telephone: (214) 492-5720
                                                  Facsimile: (214) 492-5721
                                                  E-mail: mark.tillman@tb-llp.com
                                                  E-mail: colin.batchelor@tb-llp.com
                                                  E-mail: dan.scott@tb-llp.com

                                                  ATTORNEYS FOR DEFENDANTS
                                                  SAFECO INSURANCE COMPANY OF
                                                  INDIANA AND CHAD DAVIS




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                                    CERTIFICATE OF SERVICE

        In accordance with Rules 21 and 21a of the Texas Rules of Civil Procedure, on the 1st day
of April 2015, a true and correct copy of the above and foregoing instrument was served via
facsimile or electronic service upon:

Richard D. Daly
TBA 00796429
John Scott Black
TBA 24012292
Ana M. Ene
TBA No. 24076368
William X. King
TBA 24072496
DALY & BLACK, P.C.
2211 Norfolk Street, Suite 800
Houston, Texas 77098
(713) 655-1405 (Telephone)
(713) 655-1587 (Facsimile)Daly & Bkack
rdaly@dalyblack.com
jblack@dalyblack.com
aene@dalyblack.com
wking@dalyblack.com

ATTORNEYS FOR PLAINTIFF
ANGELA GLIDWELL




                                                /s/ Mark D. Tillman
                                                MARK D. TILLMAN




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                                       VERIFICATION

STATE OF TEXAS                          §
                                        §
COUNTY OF DALLAS                        §

        Before me, the undersigned authority, on this day personally appeared Mark D. Tillman,

who, being by me duly sworn, upon his oath, deposes and states that he is over the age of

eighteen (18), is of sound mind, is an attorney with Tillman Batchelor LLP, counsel of record for

Defendant Safeco Insurance Company of Indiana and Chad Davis has reviewed Defendants’ Plea

in Abatement and Original Answer, and that, based upon his review of the claim file and the

insurance policy made the subject matter of Plaintiff’s Original Complaint, verifies that the

statements contained in Defendants’ Plea in Abatement and Original Answer are within his

personal knowledge and are true and correct.




                                                MARK D. TILLMAN




       SUBSCRIBED AND SWORN TO BEFORE ME this 1st day of April, 2015, to certify
which witness my hand and seal of office.




                                                Notary Public in and for the State of Texas
Notary Public State of Texas
Diane Marie Ferguson
My Commission Expires
December 22, 2015




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